   Case 2:17-cr-00201-LMA-DMD Document 1102-3 Filed 08/21/20 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                         *             CRIMINAL DOCKET
                                                 *
VERSUS                                           *             NO. 17-201
                                                 *
LILBEAR GEORGE                                   *
CHUKWUDI OFOMATA                                 *
CURTIS JOHNSON, JR.                              *             SECTION: “I”

                                 NOTICE OF HEARING

       PLEASE TAKE NOTICE that Curtis Johnson, Jr. will submit for consideration his

motion to sever penalty phases before the Honorable Lance M. Africk on September 16, 2020 at

2:00 p.m.



                                                  Respectfully submitted,

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